 Case: 4:24-cv-00827-SRC             Doc. #: 30      Filed: 11/12/24    Page: 1 of 10 PageID #:
                                                   296



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 JAMAICA JOHNSON,                              )
                                               )
         Plaintiff,                            )
                                               )
         v.                                    )           Case No. 4:24-cv-00827-SRC
                                               )
 THE HERTZ CORPORATION and                     )
 CHRISTOPHER BROOKS,                           )
                                               )
         Defendants.                           )

                                     Memorandum and Order

       In 2017, Missouri enacted a new law providing exclusive remedies for claims for

damages or injury arising out of an employment relationship. The Missouri appellate courts

have not had occasion to determine the scope and contours of that law. This case presents novel

questions of interpretation of that law, particularly as to the allegedly fraudulently joined

defendant. That presence of that defendant destroys diversity, and this Court accordingly lacks

subject-matter jurisdiction. The Court remands the case back to state court to wrestle with the

novel issues of state law at hand.

I.     Background

       Jamaica Johnson filed this case in state court, and Hertz removed it to this Court. Doc. 1.

Johnson then filed an amended complaint. Doc. 22-3. Because Johnson voluntarily filed her

amended complaint, the Court examines the amended complaint to resolve questions of

subject-matter jurisdiction. See Wullschleger v. Royal Canin U.S.A., Inc., 75 F.4th 918, 922–24

(8th Cir. 2023), cert. granted, 144 S. Ct. 1455 (2024). Johnson’s amended complaint alleges the

following.



                                                    1
 Case: 4:24-cv-00827-SRC           Doc. #: 30     Filed: 11/12/24       Page: 2 of 10 PageID #:
                                                297



        From May 11, 2022, to June 22, 2022, Johnson worked for Hertz. Doc. 22-3 at ¶ 13.

Hertz had hired Johnson to work in its Clayton, Missouri office as an “Automotive Detailer.” Id.

at ¶ 14. In that position, Johnson had to prepare, transport, inspect, and refuel cars. See id.

at ¶ 15. Johnson describes herself as “a team-player who strived to avoid causing problems and

to get along with everyone.” Id. at ¶ 19. When she began working for Hertz, for example,

Johnson took “several cases of water and snacks for her co-workers.” Id.

        Christopher Brooks, one of Hertz’s managers, supervised Johnson. Id. at ¶ 21. Three

days after Johnson began working for Hertz, Brooks “instructed Johnson to meet him after work

at a gas station” because “he wanted to help Johnson get water/snacks to bring for her

co-workers.” Id. at ¶¶ 24–25. “Johnson complied with Brooks’[s] instruction.” Id. at ¶ 26.

        Johnson and Brooks then entered the gas station and made some purchases: Johnson

bought a Red Bull for herself and water and snacks for her co-workers, and Brooks bought fried

chicken. Id. at ¶ 27. When Johnson exited the store, Brooks walked behind her. Id. at ¶ 28.

“Without warning or invitation, Brooks reached out and firmly grabbed Johnson’s buttocks.” Id.

at ¶ 29. “Johnson immediately raised her hands (in a ‘stop’ gesture) and said, ‘Don’t do me like

that.’” Id. at ¶ 30. “Brooks took a step back and apologized,” and “Johnson demanded that

Brooks refrain from touching her in the future.” Id. Brooks later sent Johnson a text apologizing

for “grabbing [her] booty” and saying he did not “want [her] to feel like [he] disrespected [her].”

Id. at ¶ 31.

        Two days later, Brooks texted Johnson a picture of his penis, which Johnson had not

asked for and considered unwelcome. Id. at ¶ 32. A few days later, on May 19, 2022, Johnson

asked Terrell Lee—a Hertz employee to whom Johnson directly reported—if Johnson could




                                                  2
 Case: 4:24-cv-00827-SRC           Doc. #: 30     Filed: 11/12/24       Page: 3 of 10 PageID #:
                                                298



transfer to a facility that Brooks did not travel to and from often. Id. at ¶¶ 16, 33. Lee denied

Johnson’s request. Id. at ¶ 33.

       On June 1, 2022, Brooks and his brother went to Hertz’s Clayton office so that they could

transport cars from that facility to a different one. Id. at ¶¶ 34–35. Brooks asked Johnson to go

to the garage to help Brooks locate the cars, and Johnson complied. Id. at ¶ 35. Johnson directed

Brooks and his brother to the cars and then began to leave the garage. Id. at ¶ 36. Before she

could leave, Brooks slapped Johnson’s buttocks. Id. “Johnson turned and yelled,” “Why you

think you can play me like that? . . . Stop foolin [sic].” Id. Brooks responded, “I was just

playing.” Id.

       Five days later, Hertz transferred Johnson to its Washington Avenue office, an office in

which Brooks regularly worked as the store manager. Id. at ¶ 37. That office also had a “Branch

Manager Trainee, TaShera Chairman Driver.” Id. at ¶ 38. As Johnson’s superior, Driver had

employment authority over her. Id. at ¶ 39.

       Johnson and Driver “quickly developed a friendship.” Id. at ¶ 40. Johnson told Driver

“about Brooks’[s] sexual harassment, including the picture and the multiple occasions on which

he slapped and/or grabbed her buttocks.” Id. at ¶ 41. “Johnson also complained” to Driver that

Hertz had not properly paid her wages because Brooks had not accurately recorded Johnson’s

hours. Id. at ¶ 42. “Johnson complained to numerous persons about Hertz[’s] improper

timekeeping and pay practices.” Id. at ¶ 42(d).

       On June 21, 2022, Johnson overheard a phone call between Driver and Brooks’s brother.

Id. at ¶¶ 45, 49. During that call, Driver “exclaim[ed] that Johnson wasn’t working hard, that

Johnson was a “‘b*tch’, [sic] that ‘Tonie says if Johnson isn’t doing anything she should be

clocked out and sent home’, [sic] and Johnson should be fired.” Id. at ¶ 50. Johnson then called



                                                  3
 Case: 4:24-cv-00827-SRC              Doc. #: 30     Filed: 11/12/24       Page: 4 of 10 PageID #:
                                                   299



Hertz’s general manager to complain about Driver’s conduct. Id. at ¶ 51. Johnson told the

general manager that she believed that “Brooks and [Driver] were in cahoots or conspiring to get

her fired.” Id. But the general manager “did not address Johnson’s complaints.” Id. Instead,

“he said he would call her back.” Id. Later that day, around 4:45 p.m., the general manager

“called Johnson back and told her that she was being suspended for threatening co-workers and

bringing a gun to work.” Id. at ¶ 53. Hertz allowed Johnson to finish her shift that day. Id.

at ¶ 54.

           After Johnson finished her shift but before she left, Brooks entered the office. Id. at ¶ 55.

Brooks told Johnson that he did not know that she was being suspended. Id. He then processed

paperwork relating to Johnson returning a car that she had rented and relating to a new car that

Johnson was going to rent. Id. at ¶ 56. After Johnson received the keys for the new rental car,

the police arrived. Id. at ¶ 57. The police talked to Johnson and others, and they patted Johnson

down. Id. at ¶¶ 59–60. They did not find a weapon on Johnson’s body or arrest anyone. Id.

Johnson then left the Washington Avenue office without incident. Id. at ¶ 61. Johnson claims

that, throughout the events described above, “Brooks acted within the scope of his employment

or, alternatively, Brooks acted in his individual capacity.” Id. at ¶ 74.

           Hertz terminated Johnson on June 22, 2022, “for ‘disrespectful and threatening behavior

towards [her] co-workers and managers.” Id. at ¶ 62. Two days later, Driver filed a petition for

an order of protection, claiming that Johnson caused or attempted to cause Driver physical harm.

Id. at ¶ 63. A state court held a hearing regarding the petition and then denied it. Id. at ¶ 64.

           Almost two years later, Johnson filed this case in state court, doc. 6, and Hertz removed it

to this Court, doc. 1. Johnson claims that Hertz violated the Missouri Human Rights Act, the

Missouri Minimum Wage Law, and the Missouri Whistleblower Protection Act. Doc. 22-3 at



                                                     4
 Case: 4:24-cv-00827-SRC           Doc. #: 30     Filed: 11/12/24       Page: 5 of 10 PageID #:
                                                300



¶¶ 80–117. She alternatively claims that Brooks assaulted and battered her. Id. at ¶¶ 118–24.

Johnson now moves to remand this case to state court, claiming that Hertz improperly removed it

based on Johnson’s alleged fraudulent joinder of Brooks. Docs. 23–24, 29.

II.    Standard

       A defendant may remove to federal court any state-court civil action over which the

federal court could exercise original jurisdiction, 28 U.S.C. § 1441(a), including “all civil actions

where the matter in controversy exceeds” $75,000, exclusive of interest and costs, and is

between “citizens of different States,” 28 U.S.C. § 1332(a)(1). A “plaintiff cannot defeat a

defendant’s ‘right of removal’ by fraudulently joining a defendant who has ‘no real connection

with the controversy.’” Knudson v. Sys. Painters, Inc., 634 F.3d 968, 976 (8th Cir. 2011) (first

quoting Chesapeake & Ohio Ry. Co. v. Cockrell, 232 U.S. 146, 152 (1914); and then citing

Simpson v. Thomure, 484 F.3d 1081, 1083 (8th Cir. 2007)).

       To prove fraudulent joinder, a defendant must show that the plaintiff’s claim against the

relevant defendant “has ‘no reasonable basis in fact and law.’” Id. at 977 (quoting Filla v.

Norfolk S. Ry. Co., 336 F.3d 806, 810 (8th Cir. 2003)). In other words, “if it is clear under

governing state law that the complaint does not state a cause of action against the non-diverse

defendant, the joinder is fraudulent.” Id. at 980 (quoting Filla, 336 F.3d at 810). On the other

hand, “joinder is not fraudulent where ‘there is arguably a reasonable basis for predicting that the

state law might impose liability based upon the facts involved.’” Id. (footnote omitted) (quoting

Filla, 336 F.3d at 811).

       This standard “require[s] the defendant to do more than merely prove that the plaintiff’s

claim should be dismissed pursuant to a Rule 12(b)(6) motion.” Id. (footnote omitted) (citation

omitted). “If there is a ‘colorable’ cause of action—that is, if the state law might impose liability



                                                  5
 Case: 4:24-cv-00827-SRC           Doc. #: 30      Filed: 11/12/24       Page: 6 of 10 PageID #:
                                                 301



on the resident defendant under the facts alleged—then there is no fraudulent joinder.” Filla,

336 F.3d at 810 (citation omitted). The Court resolves “all facts and ambiguities in the current

controlling substantive law in the plaintiff’s favor,” id. at 811 (citing Fields v. Pool Offshore,

Inc., 182 F.3d 353, 357 (5th Cir. 1999)), and if the sufficiency of the complaint is questionable,

the “better practice” is “to remand the case and leave the question for the state courts,” id.

(quoting Iowa Pub. Serv. Co. v. Med. Bow Coal Co., 556 F.2d 400, 406 (8th Cir. 1977)).

III.   Discussion

       The parties agree that Johnson and Hertz are citizens of different states and that the

amount in controversy exceeds $75,000 exclusive of interest and costs. Doc. 1 at ¶¶ 10–15, 28–

44; doc. 23 (failing to dispute Hertz’s citizenship and failing to dispute the amount in

controversy). Accordingly, if Johnson fraudulently joined Brooks, as Hertz asserts, the Court

has subject-matter jurisdiction under section 1332(a)(1), and the Court must dismiss Johnson’s

claims against Brooks. See Johnson v. Midwest Division - RBH, LLC, 88 F.4th 731, 736 (8th

Cir. 2023). But if the Court concludes that fraudulent joinder did not occur, the Court must

remand this case to state court for lack of subject-matter jurisdiction because Brooks is a citizen

of the same state (Missouri) as Johnson. Doc. 22-3 at ¶¶ 1, 4; 28 U.S.C. § 1332(a)(1); 28 U.S.C.

§ 1447(c).

       Hertz believes that Johnson fraudulently joined Brooks. Doc. 1. In its view, no

reasonable basis exists to conclude that Missouri might impose liability on Brooks because the

Missouri Human Rights Act preempts Johnson’s assault and battery claims against Brooks. See

id.; doc. 26; Filla, 336 F.3d at 810. Johnson, on the other hand, argues that the Missouri Human

Rights Act does not preempt her assault and battery claims because (1) she pleaded “that, in the

alternative, her claims against Brooks occurred outside of the scope of her employment



                                                  6
    Case: 4:24-cv-00827-SRC             Doc. #: 30      Filed: 11/12/24     Page: 7 of 10 PageID #:
                                                      302



relationship with Brooks,” doc. 24 at 6, 1 and (2) the act cannot preempt these claims because it

does not “provide an equal or greater remedy to that which is provided by common law,” id.

at 4–5, and it fails to provide a means to sue an individual like Brooks, id. at 5–6.

           The Missouri Human Rights Act states:

           It shall be an unlawful discriminatory practice for an employer, employment
           agency, labor organization, or place of public accommodation:

                   (1) To aid, abet, incite, compel, or coerce the commission of acts prohibited
                   under this chapter or to attempt to do so;

                   (2) To retaliate or discriminate in any manner against any other person
                   because such person has opposed any practice prohibited by this chapter or
                   because such person has filed a complaint, testified, assisted, or participated
                   in any manner in any investigation, proceeding or hearing conducted
                   pursuant to this chapter;

                   (3) For the state or any political subdivision of this state to discriminate on
                   the basis of race, color, religion, national origin, sex, ancestry, age, as it
                   relates to employment, disability, or familial status as it relates to housing;
                   or

                   (4) To discriminate in any manner against any other person because of such
                   person’s association with any person protected by this chapter.

Mo. Rev. Stat. § 213.070.1. In 2017, Missouri made several amendments to this statute and the

applicable definitions, Missouri Revised Statute § 213.010. For example, Missouri made

section 213.070, and two other statutes, “the exclusive remedy for any and all claims for injury

or damages arising out of an employment relationship.” Mo. Rev. Stat. § 213.070.2. In other

words, section 213.070.2 preempts any and all claims for injury or damages that arise out of an

employment relationship.

           Thus, the fraudulent-joinder analysis raises the question of whether “there is arguably a

reasonable basis for predicting that” section 213.070.2 does not preempt Johnson’s assault and



1
    The Court cites to page numbers as assigned by CM/ECF.

                                                        7
 Case: 4:24-cv-00827-SRC              Doc. #: 30     Filed: 11/12/24   Page: 8 of 10 PageID #:
                                                   303



battery claims against Brooks, an individual defendant whom Hertz had employed when these

events occurred. Knudson, 634 F.3d at 980 (quoting Filla, 336 F.3d at 811). The Court finds

that a reasonable basis does exist.

       The Missouri Humans Right Act does not define any of the operative terms that make up

the exclusive-remedy provision. See Mo. Rev. Stat. § 213.010. And neither party has identified

any caselaw that interprets or applies it. See docs. 23–24, 26, 29. Nor has the Court, in its

independent research, found any. The absence of guidance from Missouri state courts leaves the

Court with several lingering questions about the scope of the exclusive-remedy provision and

how it applies here.

       First, Johnson premises her assault and battery claims, in part, on facts that occurred

when Johnson and Brooks were away from Hertz’s offices. For example, Johnson claims that

Brooks, her supervisor, “instructed” her to meet him at a gas station after work to pick up snacks

for her coworkers and that she complied. Doc. 22-3 at ¶¶ 21, 25–26. When they were at the gas

station, Brooks allegedly grabbed Johnson’s buttocks. Id. at ¶¶ 26, 28–29. These alleged facts

imply that the relevant conduct arises, in some form, from an employment relationship. Does

section 213.070.2 preempt claims that arise partially from an employment relationship, or does it

preempt only claims that arise wholly from an employment relationship? And, relatedly, does

section 213.070.2 preempt a claim when the facts giving rise to it occur away from the

workplace but between a supervisor and subordinate? If so, under what circumstances?

       Second, the alleged facts suggest that Brooks grabbed Johnson’s buttocks and texted her

an indecent photo for his own personal gratification. See id. at ¶¶ 14–15, 56 (explaining that

Hertz employs people to, for example, process paperwork for people renting cars and ensure that

those cars are ready for their renters—tasks that Brooks’s actions did not further). Johnson



                                                    8
 Case: 4:24-cv-00827-SRC           Doc. #: 30     Filed: 11/12/24       Page: 9 of 10 PageID #:
                                                304



clearly alleges that she had a work relationship with Brooks, id. at ¶ 21, but she notably does not

allege that she had any other type of relationship with Brooks, cf. id.at ¶¶ 39–40 (alleging, in

contrast, that Johnson had a “friendship” with Driver, one of Johnson’s supervisors at Hertz).

And the Court cannot reasonably construe any of the alleged facts as implying a relationship

between Brooks and Johnson that was divorced from their work relationship. Does a claim

“aris[e] out of an employment relationship” when the conduct giving rise to it was for personal

gratification, not work purposes, if the plaintiff and individual defendant did not have a

relationship other than one through work? And, relatedly, does the fact that the alleged

wrongdoer acted in his personal capacity render a claim outside of the scope of the

exclusive-remedy provision? The Missouri legislature chose the term “arising out of” an

employment relationship, presumably meaning something broader than the time-worn “arising

within the course and scope of” such a relationship. That choice has legal significance that the

statutory language doesn’t address, and nor have the Missouri appellate courts done so.

       Third, the facts and questions discussed above beget the question of from whose

“employment relationship” must a claim arise—the claimant’s (e.g., Johnson’s employment

relationship with Hertz), the alleged wrongdoer’s (e.g., Brooks’s employment relationship with

Hertz), or either? See, e.g., Alst v. Mo. CVS Pharmacy, LLC, Case No. 4:20-cv-00155-NKL,

2020 WL 2319882, at *2 (W.D. Mo. May 11, 2020) (remanding the case because the plaintiff

alleged that the conduct occurred “outside and beyond the scope of her employment” (emphasis

added)); Matthews v. Syncreon.US, Inc., Case No. 20-CV-6140-SRB, 2020 WL 6538332, at *3

(W.D. Mo. Nov. 6, 2020) (remanding a case where the plaintiff alleged, in the alternative, that

the individual defendant was acting outside the scope of his employment relationship with the

employer defendant when he assaulted and battered the plaintiff); Johnson, 88 F.4th at 735–36



                                                 9
Case: 4:24-cv-00827-SRC           Doc. #: 30     Filed: 11/12/24      Page: 10 of 10 PageID #:
                                               305



(affirming the denial of a remand motion because the plaintiff had pleaded that the person who

conducted the relevant conduct “was ‘acting within the course and scope of her employment,”

not the plaintiff’s employment, with the employer defendant).

         The Court could answer each of these lingering questions in favor of either Johnson or

Hertz. But at this stage, the Court need not, and should not, definitively resolve these questions.

Filla, 336 F.3d at 811. Instead, Missouri state courts should have the first opportunity to

determine these important issues of state law. Thus, for purposes of the jurisdictional analysis,

the Court resolves these lingering questions in favor of Johnson and in favor of remand. Id.

IV.      Conclusion

         For the reasons explained above, the Court grants Johnson’s [23] Motion to Remand.

Pursuant to section 1447(c), the Court remands this case to the Circuit Court of the City of St.

Louis, Missouri, and directs the Clerk of Court to mail a certified copy of this order of remand to

the clerk of the state court. A separate order of remand accompanies this memorandum and

order.

         So ordered this 12th day of November 2024.



                                              STEPHEN R. CLARK
                                              CHIEF UNITED STATES DISTRICT JUDGE




                                                10
